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                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION



    IN RE MOVEIT CUSTOMER DATA                     MDL No. 3083
    SECURITY BREACH LITIGATION



        DEFENDANT THE PRUDENTIAL INSURANCE COMPANY OF
      AMERICA’S INTERESTED PARTY RESPONSE IN OPPOSITION TO
PLAINTIFF BRUCE BAILEY’S MOTION FOR TRANSFER AND CENTRALIZATION

       The proposed MDL should not include the Prudential Insurance Company of America

(“Prudential”). Plaintiff Bruce Bailey (“Plaintiff”) seeks to transfer and centralize disparate

actions involving numerous parties in an MDL, but involving Prudential makes little sense here.

Prudential is only involved in one action sought to be consolidated and it does not share the same

questions of facts and law as the parties who predominate the proposed MDL. The purpose of an

MDL is to combine similar actions for the sake of efficiency and judicial economy, but those goals

would not be achieved here. Prudential has only been sued in two putative class actions related to

the MOVEit data breach, the first of which was filed in its home jurisdiction of the District of New

Jersey. Prudential, who did not use MOVEit software, but instead contracted with a third party

who did, would be disadvantaged by being lumped into an unwieldy litigation mass with a litany

of actions directed at the actual creators or users of MOVEit software. Given Prudential’s

tangential involvement with the MOVEit software, Prudential also has unique defenses that would

not be applicable to other parties in the proposed MDL. Accordingly, judicial economy would be

best served by allowing Prudential to pursue its plan to consolidate its two actions in the District

of New Jersey, which is the appropriate venue for Prudential, a New Jersey-based company, and

would promote the convenience of the discovery process and the efficiency of the litigation.
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                                         BACKGROUND

       Progress Software Corporation (“PSC”) is a Massachusetts software company that offers a

variety of software products and services, including its MOVEit software for file transfers.

Pension Benefit Information, LLC (“PBI”) is a Minnesota-based company that provides pension

management services to various clients, including Prudential, and uses MOVEit software from

PSC. Beginning or around late May 2023, the cl0p Russian ransomware gang infiltrated MOVEit

and began attempts to ransom and exploit stolen data, which ultimately endangered the data of

over 50 million people. As a result, numerous class actions have been filed against PSC and PBI

and other corporations, non-profits, and governmental entities that utilized MOVEit software.

       On July 6 and July 7, 2023, Plaintiff filed motions before the Judicial Panel on Multidistrict

Litigation (the “Panel”) requesting that the Panel centralize actions related to the MOVEit file

transfer software data breach in the United States District Court for the District of Minnesota.

(Mot. to Transfer, ECF Nos. 1, 2 at 1.) Among other things, Plaintiff argues that (1) the related

actions involve the same parties, (2) the actions have been filed in a number of varying

jurisdictions, (3) the actions involve common questions of fact, (4) centralization of the related

actions will prevent conflicting pretrial rulings and conserve judicial resources, and (5) the District

of Minnesota is the most appropriate forum. (ECF No. 2 at 2–3.)

       On August 30, 2023, Christopher Arden, on behalf of himself and all others similarly

situated, filed his putative class action complaint against PSC, PBI, and Prudential in the United

States District Court for the District of Massachusetts, asserting claims against Prudential

regarding the loss of data in its possession in a data breach. The case has been assigned to Judge




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Nathaniel M. Gorton. Christopher Arden v. Progress Software Corp. et al., No. 1:23-cv-12015-

NMG (D. Mass., filed Aug. 30, 2023).

       On September 1, 2023, Charles Schaffer of Levin Sedran & Berman LLP, one of the

attorneys representing Plaintiff Arden in the District of Massachusetts, filed a Notice of Related

Actions, listing the Arden case along with ten additional cases as related to those that were included

in Plaintiff’s initial motion.1 (ECF Nos. 215, 215-11, 232.)

       Prudential also has an earlier-filed case pending against it in the District of New Jersey,

asserting essentially the same claims regarding the MOVEit data breach. On August 15, 2023,

Bruce Parker, on behalf of himself and all others similarly situated, filed a putative class action

complaint naming only Prudential as a defendant. The case has been assigned to Judge Michael

E. Farbiarz. Bruce Parker v. The Prudential Life Ins. Co. of Am., No. 2:23-cv-04617-MEF (D.N.J.,

filed Aug. 15, 2023).2

                                           ARGUMENT

       Centralization into an MDL under 28 U.S.C. § 1407 is a “last solution after considered

review of all other options.” In re: Alteryx, Inc., Customer Data Sec. Breach Litig., 291 F. Supp.

3d 1377, 1378 (J.P.M.L. 2018) (quoting In re: Best Buy Co., Inc., Cal. Song–Beverly Credit Card

Act Litig., 804 F.Supp.2d 1376, 1378 (J.P.M.L. 2011)). Centralization is only necessary “for the




1
  Prudential and counsel for Prudential only recently became aware of this Notice of Related
Actions as it was filed before Prudential was served in the underlying matter.
2
  Counsel for Plaintiff Parker includes the law firm Milberg Coleman Bryson Phillips Grossman
LLC, which also represents several other plaintiffs in alleged related actions. Counsel for
Prudential conferred with counsel for Plaintiff Parker, and they indicated that they are also opposed
to transfer and centralization to an MDL. Counsel for Plaintiff Parker has also filed a brief in
opposition to Plaintiff’s motion. (ECF No. 6.)


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convenience of the parties and witnesses or to further the just and efficient conduct of the

litigation.” Id. at 1377–78. Neither objective would be achieved here.

I.     The Claims Against Prudential Are Specific to Prudential.

       Transfer of Plaintiff Arden’s claims against Prudential to an MDL is unwarranted because

Plaintiff Arden’s claims against Prudential share almost no common questions of fact with the

claims being brought against PBI and PSC. The Panel has previously noted that “any factual

overlap among the actions…may be eclipsed by factual issues specific to each client defendant.”

In re Accellion, Inc., Customer Data Security Breach Litig., 543 F. Supp. 3d 1372, 1374 (J.P.M.L.

2021) (noting that “unique factual issues” like timing, circumstances, knowledge of the data

breach, and the conduct of individual defendants existed and made centralization unnecessary).

The questions of fact relevant to any liability by Prudential will be specific to Prudential—this will

involve Prudential’s knowledge of the alleged vulnerability, any of Prudential’s efforts to fix or

otherwise address that vulnerability, and Prudential’s vetting and monitoring of its third-party

provider who used the MOVEit software. Other factual issues include when Prudential was made

aware of the data breach, when it notified its customers, and Prudential’s own data privacy

standards and practices.

       Here, whether there is liability for Prudential, or any similarly situated defendant, will

depend heavily on individualized circumstances, concerning not just use, but each individual

organization’s data security practices and policies. These individualized factual questions go

beyond the use of MOVEit. Any efficiency that might be gained by including the claims against

Prudential in Arden in a multidistrict litigation proceeding about PSC, PBI, and others “would be

outweighed by the need for separate treatment of the major portion of these cases and difficulty



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which any transferee judge would face in attempting to meet such needs in an unduly large and

complex group of cases.” In re Penn Cent. Sec. Litig., 325 F. Supp. 309, 311 (J.P.M.L. 1971)

(separating out group of cases making distinct claims even if “full development of these cases may

require investigation of factual areas cover[ed] in” multidistrict proceeding).

        In contrast, the proposed multidistrict litigation would be more focused on the development

of the MOVEit file transfer software and the data security practices of PBI and other numerous

entities that directly used the software for different purposes. These facts would all be irrelevant

to the claims against Prudential because Prudential did not actually use MOVEit software and

instead contracted with a third-party service provider that used MOVEit software. Thus, contrary

to Plaintiff’s contention that centralization “will prevent conflicting pretrial rulings, and conserve

judicial resources on identical pre-trial issues,” (ECF No. 1 at 3), no such ‘identical pre-trial issues’

exist. And, the inclusion of Prudential as a defendant will require additional unique factual

discovery that will slow down any pre-trial processes.

        In nearly identical circumstances, the Panel has previously declined centralization for data

breach cases. In re Accellion, Inc., Customer Data Security Breach Litig., 543 F. Supp. 3d 1372

(J.P.M.L. 2021). In Accellion, the Panel was asked to transfer and centralize cases arising from an

exploited security vulnerability in another file transfer application that resulted in data being

compromised. As occurred here with PSC’s MOVEit file transfer software, criminal third-party

actors exploited the vulnerability to steal the data of various organizations and customers that used

the file transfer application. In its order denying transfer and centralization of the Accellion cases,

the Panel explained that “centralization would provide little or no benefit.” In re Accellion, Inc.,

Customer Data Security Breach Litig., 543 F. Supp. 3d at 1374. Accordingly, this Court should



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not include in the proposed consolidated proceeding the Arden action, or any future action, filed

against Prudential.

II.    Centralization Would Not Promote Efficiency or the Parties’ Convenience and the
       Cases Should Instead Be Consolidated in the District of New Jersey.

       Currently, there are two actions pending against Prudential that allege Prudential is liable

for the data breach:

       •   Christopher Arden v. Progress Software Corporation, Pension Benefit Information,
           LLC d/b/a PBI Research Services, and The Prudential Life Insurance Company of
           America, Case No. 1:23-cv-12015-NMG (D. Mass., filed Aug. 30, 2023).

       •   Bruce Parker v. The Prudential Life Insurance Company of America, Case No. 2:23-
           cv-04617-MEF (D.N.J., filed Aug. 15, 2023).

Both actions should be consolidated together outside of the MDL. In the above actions, both

plaintiffs are California residents (therefore promoting no efficiency for their cases to be

centralized in Minnesota), and raise substantially identical claims against Prudential. The Parker

complaint raises six causes of action, including (1) negligence; (2) negligence per se; (3) breach

of implied contract; (4) breach of fiduciary duty; (5) breach of confidence; and (6) unjust

enrichment. Parker Compl. ¶¶ 115–191. Similarly, the Arden complaint asserts four claims

against Prudential: (1) negligence; (2) negligence per se; (3) unjust enrichment; and (4) declaratory

and injunctive relief. Arden Compl. ¶¶ 168–184, 194–228. The Arden complaint also proposes a

nationwide sub-class against Prudential (Arden Compl. ¶ 153)3 that is nearly identical with the




3
  The proposed “Prudential Subclass” in the Arden complaint is defined as “[a]ll persons whose
Private Information was maintained by Prudential and accessed or acquired during the Data Breach
as a result of the exploitation of Progress Software Corporation’s MOVEit Application
vulnerability.”


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proposed class in the Parker complaint (Parker Compl. ¶ 103).4 Indeed, plaintiffs in both Parker

and Arden identify the same common questions of law and fact in support of their class action

allegations—whether Prudential owed a duty to plaintiffs and the proposed classes, breached that

duty, failed to safeguard plaintiffs’ personal data, and failed to implement and maintain reasonable

security measures. See Parker Compl. ¶ 107; Arden Compl. ¶ 157.5

       The Parker and Arden complaints also present the same questions of fact concerning

Prudential’s handling of information obtained from the Western Conference of Teamsters Pension

Trust participants, which Prudential serves as payment administrator for, and Prudential’s policies,

practices, conduct, and vetting of vendors. These common questions of law and fact, which

diverge from the questions of law and fact most relevant to PSC and PBI, will involve the same

witnesses and documents and will be most efficiently adjudicated near Prudential’s headquarters

in New Jersey; therefore, consolidation is the best option to adjudicate these actions. The Panel

has previously stated if “alternatives” exist that can “minimize the potential for duplicative

discovery and inconsistent pretrial rulings” that might otherwise occur, centralization is

inappropriate. In re Cal. Wine Inorganic Arsenic Levels Prods. Liab. Litig., 109 F. Supp. 3d 1362,

1363 (J.P.M.L. 2015). As such, on September 21, 2023, Prudential filed a motion to sever and

transfer the claims against it in the Arden case to the District of New Jersey, so that it can be



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  “All individuals residing in the United States whose Private Information was accessed and/or
acquired by an unauthorized party as a result of the Data Breach reported to have occurred on or
about May 29 and May 30, 2023.” Where “Data Breach” is defined in the complaint as “an
unauthorized third party accessed one of [Prudential’s] MOVEit Transfer servers and downloaded
certain files from the server on May 29, 2023 and May 30, 2023.” Parker Compl. ¶ 3.
5
  Prudential disputes the appropriateness of class treatment, and includes this information only to
provide the Panel with context regarding how Plaintiffs Arden and Parker have characterized their
claims, the issues their complaints raise, and the proposed classes in each.


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consolidated with the first-filed Parker action.6 Consolidating the Prudential actions in the District

of New Jersey is the most efficient and convenient solution for the parties.

                                          CONCLUSION

       For the foregoing reasons, Prudential opposes Plaintiff’s motion to the extent it calls for

the inclusion of the cases against Prudential in an MDL.7

                                               By Its Attorneys,

Dated: September 21, 2023

                                               By: /s/ Amanda S. Amert
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  In its motion to sever and transfer the claims in the Arden case, Prudential argues that the claims
against it should be severed because: (1) the claims against it do not present common questions of
law or fact; (2) the claims require different witnesses and documentary evidence; (3) severing the
claims would facilitate settlement and judicial economy; and (4) no party would be significantly
prejudiced if severance is granted. Prudential also argues that transfer to the District of New Jersey
is appropriate because relevant factors, including the convenience of the parties and witnesses, the
ease of access to sources of proof, the “first-filed” doctrine, considerations of judicial economy
and the interests of the parties all favor transfer.
7
  In the event that the Panel decides to grant Plaintiff’s motion and centralize the cases into an
MDL, Prudential requests that its claims be severed and remanded in the interests of efficiency
and convenience, so it can consolidate its two actions into one court. See 28 U.S.C. § 1407(a)
(“[T]he panel may separate any claim, cross-claim, counter-claim, or third-party claim and remand
any of such claims before the remainder of the action is remanded.”).


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                                CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I, hereby certify that on September 21, 2023, I caused a true

and correct copy of the foregoing:

        DEFENDANT THE PRUDENTIAL INSURANCE COMPANY OF
      AMERICA’S INTERESTED PARTY RESPONSE IN OPPOSITION TO
PLAINTIFF BRUCE BAILEY’S MOTION FOR TRANSFER AND CENTRALIZATION

to be served by email or ECF on September 21, 2023 upon the following parties:

Arden v. Progress Software Corp., et al., No. 1:23-cv-12015 (D. Mass.)

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                                                      /s/ Amanda S. Amert




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